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Case 2:02-Cr-20058-BBD Document 602 Filed 07/25/05 Page 1 of 2 Page|D 680

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UNITED STATES DISTRICT COURT HE ay §§
05 JUL 25 AH.|O: 8

for

WESTERN DISTRICT OF TENNESSEE

 

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U. S. A. vs. Natoshia Alston Mket No. 2:'02 0058-08

 

Petition on Probation and Supewised Release

COMES NOW Dawn L. Brown , PROBATION OFFICER OF THE COURT presenting an oHicial
report upon the conduct and attitude of Natoshia Alston who was placed on supervision by the Honorable Bernice
B. Donald sitting in the Court at Men_rghis , TN on the__]_fii day of November 2002* who fixed the period of
supervision at three 131 years , and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

 

 

l.The defendant shall submit to drug testing and treatment as directed by the Probation Oii":ice.
2. The defendant shall seek and maintain employment

3. The defendant shall provide third party risk notification as directed by the Probation OMce.
4. The defendant shall pay restitution in the amount of $32,844.48. (Balance $32,844.48).

* Term of Supervised Release began: May 18, 2005

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
When originally sentenced, Natoshia Alston was ordered to pay restitution in the amount of $32,844.48. Afcer

reviewing Ms. Alston’s monthly income and necessary expenses, it Was determined that a payment plan requiring
ten percent (10%) of her gross monthly income would be appropriate

PRAYING THA'I` THE COURT WILL ORDER that Natoshia Alston’ s restitution payments be set at ten percent
(10%) of her monthly gross income.

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considered and omega nns?_§l_ day CH\ .
o ZQA, and ordered filed a L. Brown

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Place: Menn)_his,_Tennessee

 

ate: Julv 14. 2005
Uni d States District Judge a
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STRIC COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 602 in
case 2:02-CR-20058 Was distributed by faX, rnail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

